Case 6:20-cv-01717-GAP-DCI Document 1-1 Filed 09/18/20 Page 1 of 5 PagelD 615
Filing # 111732107 E-Filed 08/13/2020 11:15:35AM ©

IN THE CIRCUIT COURT OF THE NINTH
JUDICIAL CIRCUIT, IN AND FOR
ORANGE COUNTY, FLORIDA

 

CASE NO:

STEPHEN DAVIS,

Plaintiff,
VS.
WALMART, INC. and
MAURICE RIVERS,

Defendants.

/
COMPLAINT

COMES NOW, the plaintiff, through undersigned counsel, and sues the defendants and
alleges:

l. This is an action for damages in excess of Thirty Thousend and no/100 Dollars
($30,000), exclusive of costs, interest, and attorneys’ fees.

2: At all material times, the plaintiff was a resident of Seminole County, Florida.

3: At all material times, the defendant WALMART, INC. was a corporation licensed
to do business within the State of Florida.

4. At all material times, defendant MAURICE RIVERS was a resident of Orange
County, Florida.

5: On or about November 27, 2019, the plaintiff was an invitee in the defendants’
retail store located at Lee Road in Orange County, Florida, when he slipped on a slippery substance

on the floor and fell to the ground.
Case 6:20-cv-01717-GAP-DCI Document 1-1 Filed 09/18/20 Page 2 of 5 PagelD 616

6. The defendant’s operating procedures were such that such rules and procedures
created the likelihood of individuals becoming injured on the premises, and such procedures failed
to include actions to eliminate risks to employees or other individuals in the first instance.

7. As a result of the above described incident, the plaintiff sustained injuries and other
damages detailed below.

COUNT I: NEGLIGENCE-WALMART, INC.

The plaintiff re-alleges Paragraphs | through 7 and further alleges:

8. The defendant, as owner, operator, and entity in possession and control of the
premises had the following non-delegable duties to the plaintiff and other individuals at the
Defendant’s premises:

a. Maintaining the premises in a reasonably safe condition to avoid injury to
the plaintiff and other customers or invitees; and

b. Inspecting the premises and warn the plaintiff of dangerous conditions,
including the one previously alleged, it knew or should have known
existed on its property creating an unreasonable risk to the plaintiff; and

9. The defendant negligently breached the aforementioned duties by:
a. Creating the condition which caused plaintiff's injury;
b. Failing to timely and properly inspect the premises for potentially

dangerous or unsafe conditions, including the one previously alleged; and
c. Failing to warn the plaintiff of unreasonably dangerous condition.
10. The dangerous condition that caused the plaintiff's injury should have been
anticipated by defendant so that the defendant either knew, or under the exercise of reasonable
care should have known, the dangerous condition existed. Nonetheless, the defendant did not take

appropriate corrective steps to remedy the condition.

Page 2 of 5
Case 6:20-cv-01717-GAP-DCI Document 1-1 Filed 09/18/20 Page 3 of 5 PagelD 617

.

11. As a proximate result of the defendant’s negligence, the plaintiff suffered injury
and resulting pain and suffering, aggravation of a pre-existing condition, disability, loss of the
capacity of the enjoyment of life, medical care and treatment expense, loss of earnings, and loss
of ability to earn money. The losses are either permanent or continuing, and the plaintiff will
continue to suffer losses in the future.

WHEREFORE, the plaintiff demands judgment for damages in excess of $30,000 against
the defendant together with litigation costs, and the plaintiff demands a jury trial.

COUNT II: NEGLIGENT MODE OF OPERATION- WALMART, INC.

The plaintiff re-alleges Paragraphs | through 7 and further alleges:

12. The defendant, as owner, operator, and entity in control of the work being
performed at the above-mentioned store had the following non-delegable duties:

a. Implementing policies, methodology, and procedures so as not cause or
contribute to the creation dangerous conditions; and

b. Implementing policies, methodology, and procedures designed to prevent
the creation or continued existence of dangerous conditions. __

13. The defendant breached the aforementioned duties by:
a. Implementing policies, procedures, and methodology which
foreseeably caused or contributed to the existence of the dangerous

condition described above; and .

b. Failing to implement policies, procedures, and methodology designed to
prevent injury to employees or other individuals in the first instance.

14, - Asa direct and proximate result of the defendant's negligence, the plaintiff suffered
injury and resulting pain and suffering, aggravation of a pre-existing condition, disability, loss of
the capacity of the enjoyment of life, medical care and treatment expense, loss of earnings, and
loss of ability to earn money. The losses are either permanent or continuing and the plaintiff will

suffer losses in the future.

Page 3 of 5
Case 6:20-cv-01717-GAP-DCI Document 1-1 Filed 09/18/20 Page 4 of 5 PagelD 618

WHEREFORE, the plaintiff demands judgment for damages in excess of $30,000 against
the defendant together with litigation costs, and the plaintiff demands a jury trial.
COUNT II - NEGLIGENCE OF MAURICE RIVERS
Plaintiff re-alleges Paragraphs | through 7 above and further, alleges:
IS. As the manager of the premises on the aforementioned date of loss, the defendant,
individually, had the following non-delegable duties to the plaintiff and other individuals at the
Defendant’s premises:

16. | The defendant, as owner, operator, and entity in possession and control of the

premises had
a. Maintaining the premises in a reasonably safe condition to avoid injury to
the plaintiff and other customers or invitees; and
b. Inspecting the premises and warn the plaintiff of dangerous conditions,

including the one previously alleged, it knew or should have known
existed on its property creating an unreasonable risk to the plaintiff; and

17. The defendant negligently breached the aforementioned duties by:
a. Creating the condition which caused plaintiff's injury;

b. Failing to timely and properly inspect the premises for potentially
dangerous or unsafe conditions, including the one previously alleged; and

ei. Failing to warn the plaintiff of unreasonably dangerous condition.

18. The dangerous condition that caused the plaintiffs injury should have been
anticipated by defendant so that the defendant either knew, or under the exercise of reasonable
care should have known, the dangerous condition existed. Nonetheless, the defendant did not take
appropriate corrective steps to remedy the condition. |

18. As a proximate result of the defendant’s negligence, the plaintiff suffered injury

and resulting pain and suffering, aggravation of a pre-existing condition, disability, loss of the

Page 4 of 5
Case 6:20-cv-01717-GAP-DCI Document 1-1 Filed 09/18/20 Page 5 of 5 PagelD 619

capacity of the enjoyment of life, medical care and treatment expense, loss of earnings, and loss

of ability to earn money. The losses are either permanent or continuing, and the plaintiff will

continue to suffer losses in the future.

WHEREFORE, the plaintiff demands judgment for damages in excess of $30,000 against

the defendant together with litigation costs, and the plaintiff demands a jury trial.

DATED: August 13, 2020.

/s/ Brian M. Davis

Brian M. Davis

Trial Pro, P.A.

Florida Bar No: 884650

250 N. Orange Avenue, 14” Floor
Orlando, Florida 32801
Telephone: (407) 300-0000
Primary E-Mail Designations:
Brian@TrialPro.com

Xaymara@TrialPro.com

Attorney for Plaintiff

Page 5 of 5
